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Governor Kemp Responds to President Biden's Attack on
Election Integrity Legislation

MARCH 26, 2021

Atlanta, GA - Today, Governor Brian P. Kemp issued the following statement in response to President Biden's attack on election integrity les
url=hitps%34%2F%2Fsable.madmimi.com%2Fe%2F226400%3Fid%3D1606833.16140.1.f¢5248e776caghgaco2813ce4a943'
in Georgia.

“tt is obvious that neither President Biden nor his handlers have actually read SB 202, which I signed into law yesterday. This bill expands voti
partisan activists. As Governor, I won’t back down from keeping Georgia elections secure, accessible, and fair.”

Watch the Governor's full remarks (https://geco2.safelinks.protection.outlook.com/?
url=htips%3A%2F%2Fsable.madmimi.com%2Fc%2F226400%3FId%3D1606833.16141.1.932deff99db9126904472e8967b414(
signing SB 202 into law yesterday.

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